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PATRICIA S. DODSZUWEIT             UNITED STATES COURT OF APPEALS                    TELEPHONE
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                                       Website: www.ca3.uscourts.gov

                                               April 15, 2025



Jason A. Spak
Fisher Broyles
6360 Broad Street #5262
Pittsburgh, PA 15206


RE: Atlas Data Privacy Corp, et al v. Innovis Data Solutions Inc
Case Number: 25-1566
District Court Case Number: 1:24-cv-04176

Dear Counsel:

Pursuant to our docketing letter dated March 31, 2025, you were requested electronically file or
complete the following in the above-entitled case:

Transcript Purchase Order Form


The above listed forms must be completed within fourteen (14) days of the date of this letter.
The forms are available at this court's website.

IF YOU FAIL TO COMPLY, THE CASE WILL BE DISMISSED PURSUANT TO 3d Cir.
L.A.R MISC. 107.1(b) and/or 107.2(a).

Very truly yours,
Patricia S. Dodszuweit, Clerk


By: s/Laurie
Case Manager
267-299-4936
cc: David Boies, Esq.
Kashif T. Chand, Esq.
Liza B. Fleming, Esq.
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